                                                                                                           United States Bankruptcy Court
                                                                                                  Southern District of New York, White Plains Division

                                                                   IN RE:                                                                        Case No.
                                                                   Meyzen Family Realty Assocaites, LLC                                          Chapter 11
                                                                                                          Debtor(s)

                                                                                                          LIST OF EQUITY SECURITY HOLDERS
                                                                                                                                               Shares    Security Class
                                                                   Registered name and last known address of security holder
                                                                                                                                      (or Percentage)    (or kind of interest)
                                                                   Bobbie Meyzen                                                                  50     Manager
                                                                   PO Box 164
                                                                   Redding, CT 06896-0164
                                                                   Robert Meyzen                                                                  50     Manager
                                                                   PO Box 164
                                                                   Redding, CT 06896-0164
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                                                                                                              United States Bankruptcy Court
                                                                                                     Southern District of New York, White Plains Division

                                                                   IN RE:                                                                                  Case No.
                                                                   Meyzen Family Realty Assocaites, LLC                                                    Chapter 11
                                                                                                          Debtor(s)

                                                                                                          VERIFICATION OF CREDITOR MATRIX
                                                                   The above named debtor(s) hereby verify(ies) that the attached matrix listing creditors is true to the best of my(our) knowledge.



                                                                   Date: September 13, 2018               Signature: /s/ Barbara Meyzen
                                                                                                                       Barbara Meyzen, Managing Member                                         Debtor



                                                                   Date:                                  Signature:
                                                                                                                                                                                   Joint Debtor, if any
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Celtic Bank
c/o DelBello Donnellan Weingarrten
11 N Lexington Ave Fl 11
White Plains, NY 10601-1706


L&J Smith Investments LP
904 E Waggoman St
Fort Worth, TX 76110-5723


L&J Smith Invetments LP
c/o Auerbach Law Group, PC
81 Main St Unit 307
White Plains, NY 10601-1719


Robert Meyzen
PO Box 164
Redding, CT 06896-0164
                                                                   B201B (Form 201B) (12/09)

                                                                                                                 United States Bankruptcy Court
                                                                                                        Southern District of New York, White Plains Division

                                                                   IN RE:                                                                                            Case No.
                                                                   Meyzen Family Realty Assocaites, LLC                                                              Chapter 11
                                                                                                              Debtor(s)

                                                                                                  CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                                                                                      UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                                                                    Certificate of [Non-Attorney] Bankruptcy Petition Preparer

                                                                   I, the [non-attorney] bankruptcy petition preparer signing the debtor’s petition, hereby certify that I delivered to the debtor the attached
                                                                   notice, as required by § 342(b) of the Bankruptcy Code.


                                                                   Printed Name and title, if any, of Bankruptcy Petition Preparer                                  Social Security number (If the bankruptcy
                                                                   Address:                                                                                         petition preparer is not an individual, state
                                                                                                                                                                    the Social Security number of the officer,
                                                                                                                                                                    principal, responsible person, or partner of
                                                                                                                                                                    the bankruptcy petition preparer.)
                                                                                                                                                                    (Required by 11 U.S.C. § 110.)
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                                                                   X
                                                                   Signature of Bankruptcy Petition Preparer of officer, principal, responsible person, or
                                                                   partner whose Social Security number is provided above.

                                                                                                                          Certificate of the Debtor

                                                                   I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.



                                                                   Meyzen Family Realty Assocaites, LLC                                   X /s/ Barbara Meyzen                                         9/13/2018
                                                                   Printed Name(s) of Debtor(s)                                               Signature of Debtor                                           Date


                                                                   Case No. (if known)                                                    X
                                                                                                                                              Signature of Joint Debtor (if any)                            Date


                                                                   Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.

                                                                   Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) only if the certification has
                                                                   NOT been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor’s
                                                                   attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition preparers on
                                                                   page 3 of Form B1 also include this certification.
Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS DIVISION

Case number (if known)                                                     Chapter      11
                                                                                                                            Check if this an amended
                                                                                                                             filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                             4/16
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known). For
more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Meyzen Family Realty Assocaites, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal Employer
     Identification Number     XX-XXXXXXX
     (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  46 Bedford Banksville Rd
                                  Bedford, NY 10506-2218
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                    Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 46 Bedford Banksville Rd Bedford, NY
                                                                                                 10506-2218
                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                             page 1
Debtor    Meyzen Family Realty Assocaites, LLC                                                         Case number ( if known )
          Name


7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))

                                        Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                          None of the above

                                       B. Check all that apply
                                        Tax-exempt entity (as described in 26 U.S.C. §501)
                                        Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                        Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?
                                          Chapter 7
                                          Chapter 9

                                        Chapter 11. Check all that apply:
                                                         Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are
                                                                 less than $2,566,050 (amount subject to adjustment on 4/01/19 and every 3 years after that).
                                                                The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow statement,
                                                                 and federal income tax return or if all of these documents do not exist, follow the procedure in 11
                                                                 U.S.C. § 1116(1)(B).
                                                                A plan is being filed with this petition.
                                                                Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11 (Official
                                                                 Form 201A) with this form.
                                                                The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy
     cases filed by or against the
                                       No.
     debtor within the last 8           Yes.
     years?
     If more than 2 cases, attach a
     separate list.                             District                                  When                                    Case number
                                                District                                  When                                    Case number


10. Are any bankruptcy cases
    pending or being filed by a
                                       No
    business partner or an              Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                     Debtor                                                                        Relationship
                                                District                                  When                                Case number, if known




Official Form 201                             Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                      page 2
Debtor   Meyzen Family Realty Assocaites, LLC                                                      Case number ( if known )
         Name


11. Why is the case filed in    Check all that apply:
    this district?
                                     Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                      preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                     A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or
    have possession of any
                                No
                                           Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    Yes.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                              What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                              livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            Other
                                           Where is the property?
                                                                             Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .        Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                          After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of         1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                     5001-10,000                                 50,001-100,000
                                 50-99
                                 100-199                                         10,001-25,000                               More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                 $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                     $500,000,001 - $1 billion
                                 $50,001 - $100,000                              $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                             $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                           $100,000,001 - $500 million                 More than $50 billion




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 3
Debtor    Meyzen Family Realty Assocaites, LLC                                                            Case number ( if known )
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or imprisonment
           for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                 The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                  I have been authorized to file this petition on behalf of the debtor.

                                  I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                  I declare under penalty of perjury that the foregoing is true and correct.

                                  Executed on       September 13, 2018
                                                    MM / DD / YYYY


                              X   /s/ Barbara Meyzen                                                             Barbara Meyzen
                                  Signature of authorized representative of debtor                               Printed name

                                  Title   Managing Member




18. Signature of attorney     X   /s/ H Bruce Bronson                                                              Date September 13, 2018
                                  Signature of attorney for debtor                                                      MM / DD / YYYY

                                  H Bruce Bronson
                                  Printed name

                                  Bronson Law Office, P.C.
                                  Firm name


                                  480 Mamaroneck Ave
                                  Harrison, NY 10528-1621
                                  Number, Street, City, State & ZIP Code


                                  Contact phone      (877) 385-7793                  Email address         hbbronson@bronsonlaw.net

                                  1679380
                                  Bar number and State




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
    Fill in this information to identify the case:

Debtor name       Meyzen Family Realty Assocaites, LLC

                                             SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
United States Bankruptcy Court for the:      DIVISION

Case number (if known)
                                                                                                                                     Check if this is an
                                                                                                                                      amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                             12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this form
for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’     s position or relationship to the debtor, the identity of the document, and
the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519,
and 3571.



             Declaration and signature


      I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another individual
      serving as a representative of the debtor in this case.

      I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

              Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

              Schedule D: Creditors Who Have Claims Secured by Property(Official Form 206D)

              Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

              Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

              Schedule H: Codebtors (Official Form 206H)
              Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
              Amended Schedule
              Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
              Other document that requires a declaration

      I declare under penalty of perjury that the foregoing is true and correct.

       Executed on       September 13, 2018                X /s/ Barbara Meyzen
                                                             Signature of individual signing on behalf of debtor

                                                              Barbara Meyzen
                                                              Printed name

                                                              Managing Member
                                                              Position or relationship to debtor
           Fill in this information to identify the case:

 Debtor name        Meyzen Family Realty Assocaites, LLC

                                                  SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
 United States Bankruptcy Court for the:          DIVISION

 Case number (if known)
                                                                                                                          Check if this is an
                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest. Include
all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties which have
no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts or unexpired
leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write the
debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an additional
sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’ s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:       Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

    No.     Go to Part 2.
     Yes Fill in the information below.
    All cash or cash equivalents owned or controlled by the debtor                                                          Current value of
                                                                                                                            debtor's interest

 Part 2:        Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

    No.     Go to Part 3.
     Yes Fill in the information below.

 Part 3:        Accounts receivable
10. Does the debtor have any accounts receivable?

    No.     Go to Part 4.
     Yes Fill in the information below.

 Part 4:        Investments
13. Does the debtor own any investments?

    No.     Go to Part 5.
     Yes Fill in the information below.

 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

    No.     Go to Part 6.
     Yes Fill in the information below.

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

    No.     Go to Part 7.

Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property                                     page 1
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 Debtor         Meyzen Family Realty Assocaites, LLC                                          Case number (If known)
                Name


     Yes Fill in the information below.

 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

    No.     Go to Part 8.
     Yes Fill in the information below.

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

    No.     Go to Part 9.
     Yes Fill in the information below.

 Part 9:        Real property
54. Does the debtor own or lease any real property?

     No.    Go to Part 10.
    Yes Fill in the information below.
 55.        Any building, other improved real estate, or land which the debtor owns or in which the debtor has an interest

            Description and location of                 Nature and extent     Net book value of        Valuation method used   Current value of
            property                                    of debtor's           debtor's interest        for current value       debtor's interest
            Include street address or other             interest in           (Where available)
            description such as Assessor                property
            Parcel Number (APN), and type of
            property (for example, acreage,
            factory, warehouse, apartment or
            office building, if available.
            55.1. 46 Bedford
                    Banksville Rd,
                    Bedford, NY
                    10506-2218                              Fee Simple             $2,800,000.00                                       $2,800,000.00



 56.        Total of Part 9.                                                                                                        $2,800,000.00
            Add the current value on lines 55.1 through 55.6 and entries from any additional sheets.
            Copy the total to line 88.

 57.        Is a depreciation schedule available for any of the property listed in Part 9?
            No
             Yes
 58.        Has any of the property listed in Part 9 been appraised by a professional within the last year?
            No
             Yes
 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

    No.     Go to Part 11.
     Yes Fill in the information below.

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.


Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                     page 2
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 Debtor         Meyzen Family Realty Assocaites, LLC                                       Case number (If known)
                Name


    No.     Go to Part 12.
     Yes Fill in the information below.




Official Form 206A/B                                        Schedule A/B Assets - Real and Personal Property        page 3
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 Debtor           Meyzen Family Realty Assocaites, LLC                                                                 Case number (If known)
                  Name



 Part 12:         Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                                Current value of                     Current value of real
                                                                                                      personal property                    property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                       $0.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                            $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                                $0.00

 83. Investments. Copy line 17, Part 4.                                                                                        $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                          $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                                 $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                                     $0.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                                 $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                        $2,800,000.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                             $0.00

 90. All other assets. Copy line 78, Part 11.                                                     +                            $0.00

 91. Total. Add lines 80 through 90 for each column                                                                        $0.00       + 91b.            $2,800,000.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $2,800,000.00




Official Form 206A/B                                                Schedule A/B Assets - Real and Personal Property                                                         page 4
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           Fill in this information to identify the case:

 Debtor name          Meyzen Family Realty Assocaites, LLC

                                                    SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
 United States Bankruptcy Court for the:            DIVISION

 Case number (if known)
                                                                                                                                            Check if this is an
                                                                                                                                             amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                    12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
        No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
       Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                   Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                               Amount of claim             Value of collateral
                                                                                                                                               that supports this
                                                                                                                   Do not deduct the value     claim
                                                                                                                   of collateral.
 2.1    Celtic Bank                                   Describe debtor's property that is subject to a lien              $1,200,000.00             $2,800,000.00
        Creditor's Name                               46 Bedford Banksville Rd, Bedford, NY
        c/o DelBello Donnellan                        10506-2218
        Weingarrten
        11 N Lexington Ave Fl 11
        White Plains, NY
        10601-1706
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
                                                       Yes. Fill out Schedule H: Codebtors (Official Form 206H)
        Last 4 digits of account number

        Do multiple creditors have an                 As of the petition filing date, the claim is:
        interest in the same property?                Check all that apply
         No                                           Contingent
        Yes. Specify each creditor,                   Unliquidated
        including this creditor and its relative      Disputed
        priority.
        1. Celtic Bank
        2. L&J Smith Invetments
        LP

 2.2    L&J Smith Invetments LP                       Describe debtor's property that is subject to a lien                $250,000.00             $2,800,000.00
        Creditor's Name                               46 Bedford Banksville Rd, Bedford, NY
        c/o Auerbach Law Group,                       10506-2218
        PC
        81 Main St Unit 307
        White Plains, NY
        10601-1719
        Creditor's mailing address                    Describe the lien

                                                      Is the creditor an insider or related party?
                                                      No
        Creditor's email address, if known             Yes
                                                      Is anyone else liable on this claim?
        Date debt was incurred                        No
Official Form 206D                                 Schedule D: Creditors Who Have Claims Secured by Property                                                 page 1 of 2
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 Debtor      Meyzen Family Realty Assocaites, LLC                                                    Case number (if know)
             Name

                                                     Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                As of the petition filing date, the claim is:
       interest in the same property?               Check all that apply
        No                                          Contingent
       Yes. Specify each creditor,                  Unliquidated
       including this creditor and its relative      Disputed
       priority.
       1. Celtic Bank
       2. L&J Smith Invetments
       LP

                                                                                                                             $1,450,000.0
 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.                        0

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did you    Last 4 digits of
                                                                                                               enter the related creditor?        account number for
                                                                                                                                                  this entity
        L&J Smith Investments LP
        904 E Waggoman St                                                                                    Line   2.2
        Fort Worth, TX 76110-5723




Official Form 206D                   Additional Page ofSchedule D: Creditors Who Have Claims Secured by Property                                            page 2 of 2
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    Fill in this information to identify the case:

 Debtor name        Meyzen Family Realty Assocaites, LLC

                                                  SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
 United States Bankruptcy Court for the:          DIVISION

 Case number (if known)
                                                                                                                                                  Check if this is an
                                                                                                                                                   amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                                  12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and 2
in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

     1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

         No. Go to Part 2.
          Yes. Go to line 2.

 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
     3. List in alphabetical order all of the creditors with nonpriority unsecured claims . If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
        out and attach the Additional Page of Part 2.
 3.1    Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.
                                                                             Contingent
                                                                             Unliquidated
           Date or dates debt was incurred                                   Disputed
           Last 4 digits of account number
                                                                            Basis for the claim:
                                                                            Is the claim subject to offset?    No  Yes

 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies, assignees
   of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                 On which line in Part1 or Part 2 is the            Last 4 digits of
                                                                                                    related creditor (if any) listed?                  account number, if
                                                                                                                                                       any

 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                           5a.           $                            0.00
 5b. Total claims from Part 2                                                                           5b.    +      $                            0.00
 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                5c.           $                              0.00




Official Form 206E/F                                        Schedule E/F: Creditors Who Have Unsecured Claims                                                       page 1 of 1
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           Fill in this information to identify the case:

 Debtor name        Meyzen Family Realty Assocaites, LLC

                                                  SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
 United States Bankruptcy Court for the:          DIVISION

 Case number (if known)
                                                                                                                                      Check if this is an
                                                                                                                                       amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                                   12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.     Does the debtor have any executory contracts or unexpired leases?
       No. Check this box and file this form with the debtor's other schedules.   There is nothing else to report on this form.
        Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal    Property (Official
Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.2       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.3       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract


 2.4       State what the contract or
           lease is for and the nature
           of the debtor's interest

             State the term remaining

            List the contract number of
             any government contract




Official Form 206G                              Schedule G: Executory Contracts and Unexpired Leases                                                  Page 1 of 1
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          Fill in this information to identify the case:

 Debtor name        Meyzen Family Realty Assocaites, LLC

                                                  SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
 United States Bankruptcy Court for the:          DIVISION

 Case number (if known)
                                                                                                                              Check if this is an
                                                                                                                               amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                     12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

 No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
  Yes
  2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of creditors,
     Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule on which the
     creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
           Column 1: Codebtor                                                                          Column 2: Creditor


              Name                            Mailing Address                                   Name                            Check all schedules
                                                                                                                                that apply:
    2.1                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City              State       Zip Code


    2.2                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City              State       Zip Code


    2.3                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City              State       Zip Code


    2.4                                                                                                                        D
                                              Street                                                                            E/F
                                                                                                                               G
                                              City              State       Zip Code




Official Form 206H                                                      Schedule H: Your Codebtors                                          Page 1 of 1
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            Fill in this information to identify the case:

 Debtor name            Meyzen Family Realty Assocaites, LLC

                                                               SOUTHERN DISTRICT OF NEW YORK, WHITE PLAINS
 United States Bankruptcy Court for the:                       DIVISION

 Case number (if known)
                                                                                                                                                                                      Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                  12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 fromSchedule A/B.............................................................................................................................                   $        2,800,000.00

       1b. Total personal property:
           Copy line 91A fromSchedule A/B.........................................................................................................................                      $                    0.00

       1c. Total of all property:
           Copy line 92 fromSchedule A/B...........................................................................................................................                     $        2,800,000.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A,Amount of claim, from line 3 of Schedule D....................................                                                   $        1,450,000.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a ofSchedule E/F..........................................................................                                      $                    0.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of
                                                                           Schedule E/F................................................                                                +$                    0.00


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $          1,450,000.00




 Official Form 206Sum                                               Summary of Assets and Liabilities for Non-Individuals                                                                                page 1
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B2030 (Form 2030) (12/15)
                                                            United States Bankruptcy Court
                                                 Southern District of New York, White Plains Division
 In re       Meyzen Family Realty Assocaites, LLC                                                            Case No.
                                                                             Debtor(s)                       Chapter      11

                              DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:

          FLAT FEE
             For legal services, I have agreed to accept                                                 $
             Prior to the filing of this statement I have received                                       $
             Balance Due                                                                                 $

             RETAINER
             For legal services, I have agreed to accept and received a retainer of                      $                10,000.00
             The undersigned shall bill against the retainer at an hourly rate of                   $                          400.00
             [Or attach firm hourly rate schedule.] Debtor(s) have agreed to pay all Court approved
             fees and expenses exceeding the amount of the retainer.


2.     The source of the compensation paid to me was:
                    Debtor        Other (specify):

3.     The source of compensation to be paid to me is:
                    Debtor        Other (specify):

4.        I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law
             firm.

          I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
             copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:




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 In re       Meyzen Family Realty Assocaites, LLC                                                   Case No.
                                                            Debtor(s)

                            DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
                                              (Continuation Sheet)
                                                                        CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     September 13, 2018                                                      /s/ H Bruce Bronson
     Date                                                                    H Bruce Bronson
                                                                             Signature of Attorney
                                                                             Bronson Law Office, P.C.

                                                                             480 Mamaroneck Ave
                                                                             Harrison, NY 10528-1621
                                                                             (877) 385-7793
                                                                             hbbronson@bronsonlaw.net
                                                                             Name of law firm




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